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      EXHIBIT
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        Case 3:23-cv-03417-VC Document 193-4 Filed 10/01/24 Page 11 of 21


From:            Kathleen Hartnett
To:              Maxwell Pritt; Poppell, Cole A; Holden Benon; Christopher Young; Aaron Cera; Cadio Zirpoli; Joe Saveri; Margaux
                 Poueymirou; Ashleigh Jensen; Rya Fishman; Matthew Butterick; Nada Djordjevic; James Ulwick; Bryan L. Clobes;
                 Mohammed Rathur; Amy Keller; David Straite; Ruby Ponce; Alexander Sweatman; Heaven Haile; Llama BSF;
                 Josh Schiller; David Boies; Jesse Panuccio; Ghajar, Bobby A.; Ghazarian, Colette A; Biksa, Liene; Alvarez, Jessica;
                 mlemley@lex-lumina.com; Weinstein, Mark; Stameshkin, Liz; z/Meta-Kadrey; Dunning, Angela L.
Subject:         RE: Kadrey et al. v. Meta: Plaintiffs’ Request to Modify Court-Ordered Case Schedule
Date:            Sunday, September 29, 2024 11:02:12 PM



CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize
the sender.




Max,

We appreciate that Plaintiffs have now begun to provide in writing (in (2) below) what
we’ve been asking for – the claimed showing of need to support your forthcoming
scheduling motion. However, we’re disappointed to see that Plaintiffs are now
proposing (in (3) below) a much longer scheduling extension than you disclosed to us
last week, based on the erroneous notion that there will be “surprise” issues in this case
or that Meta has an obligation to disclose to you all of our summary judgment arguments
in advance. As we explained to Judge Chhabria at the hearing, in addition to likely
moving for summary judgment on fair use, Meta may seek summary judgment against
any Plaintiff that lacks standing. Additionally, Meta may make legal arguments at
summary judgment about whether “copying” has occurred. Meta reserves its right to
make any summary judgment argument supported by the record once discovery is
complete, but none of its arguments will be out of left field. We also note that Plaintiffs
have not been asked to, and at no time have offered, their potential summary judgment
arguments. Put simply, there is nothing about the parties’ potential summary judgment
arguments that could justify the dramatic expansion of discovery and the schedule you
now propose.

With respect to the items listed in (2) below, we note that these do not justify your
attempt to reopen discovery generally. Nearly all of them are already present (or will be
present) in the record, are the subject of the motion to compel that will be filed with
Judge Hixson on Monday, or are irrelevant to fair use. At most, a couple of these items
might justify some discrete follow-up discovery – potentially a couple of additional
custodians and depositions – which Meta has been repeatedly willing to discuss. We
remaining willing to meet and confer about a more discrete and modest scheduling
adjustment and additional discovery, which is the appropriate way to deal with any
remaining discovery needs of Plaintiffs.

Finally, it is inappropriate to seek to leverage your forthcoming scheduling motion to
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cancel Mr. Al-Dahle’s deposition that is scheduled to take place on Thursday. We
scheduled this and other depositions in the next two weeks in order to comply with the
Court’s September 20 order that the parties have two weeks after the September 30
discovery cutoff to complete the remaining depositions that were already requested. In
addition, as we have informed Plaintiffs’ counsel, Mr. Al-Dahle will be leaving on
parental leave after his deposition and thus we need to proceed this week. Moreover,
under Local Rule 7-11, Meta has four days to respond to any administrative motion to
adjust the case schedule. Meta had offered to truncate its own response time to
Thursday as an accommodation to plaintiffs so that a hearing could be held this week on
Friday. If plaintiffs do not wish to negotiate shortened time on their administrative
motion, Meta will respond within the time provided by the rules. Further, under local rule
7–11(c), any administrative motion is deemed submitted on the day the opposition is
due and subject to immediate ruling by the court without a hearing. So any suggestion
that plaintiffs may unilaterally set a hearing on the court’s law and motion calendar for
Thursday is inaccurate.

We are available tomorrow or Tuesday to have a genuine meet and confer regarding
Plaintiffs’ claimed needs and how they can be accommodated in a more discrete
manner than the wholesale schedule change and reopening of discovery that you
propose.

Thank you,
Kathleen

Kathleen R. Hartnett
Cooley LLP
3 Embarcadero Center, 20th Floor
San Francisco, CA 94111-4004
+1 415 693 2071 office
+1 415 693 2222 fax
+1 202 368 5916 mobile
khartnett@cooley.com
www.cooley.com/people/kathleen-hartnett
Pronouns: she, her, hers




From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Saturday, September 28, 2024 10:04 PM
To: Hartnett, Kathleen <khartnett@cooley.com>; Poppell, Cole A <CPoppell@cooley.com>; Holden
Benon <hbenon@saverilawfirm.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joe Saveri
<jsaveri@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Rya Fishman <rfishman@saverilawfirm.com>; Matthew
Butterick <mb@buttericklaw.com>; Nada Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick
      Case 3:23-cv-03417-VC Document 193-4 Filed 10/01/24 Page 13 of 21


<Julwick@dicellolevitt.com>; Bryan L. Clobes <BClobes@caffertyclobes.com>; Mohammed Rathur
<MRathur@caffertyclobes.com>; Amy Keller <akeller@dicellolevitt.com>; David Straite
<dstraite@dicellolevitt.com>; Ruby Ponce <rponce@saverilawfirm.com>; Alexander Sweatman
<ASweatman@caffertyclobes.com>; Heaven Haile <hhaile@saverilawfirm.com>; Llama BSF
<Llama_BSF@bsfllp.com>; Josh Schiller <JiSchiller@BSFLLP.com>; David Boies
<DBoies@BSFLLP.com>; Jesse Panuccio <jpanuccio@BSFLLP.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Biksa, Liene
<lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com;
Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-
Kadrey <zmetakadrey@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>
Subject: RE: Kadrey et al. v. Meta: Plaintiffs’ Request to Modify Court-Ordered Case Schedule


[External]

Good evening, Kathleen.

I think we agree this kind of back-and-forth is not productive or warranted, particularly
between former colleagues and friends. We have no intent to make “accusations against
Meta” or you personally. We are conferring over a case-management motion; you’re asserting
positions on behalf of your client, and we’re asserting ours. Let’s not make it more than it is.

Here are the bottom-line points for Plaintiffs:

   1. Despite Meta’s repeated assertions, Plaintiffs don’t seek to “effectively restart fact
      discovery.” Our proposed amended case management schedule and interim deadlines
      make that clear, so there is no point in debating it further.

   2. Regarding identifying “what is missing that is critical for the resolution of the fair use
      issue,” we provided information about some discovery we believe is missing and
      additional discovery we believe is needed, and we did so just two days after appearing in
      the case. So, contrary to your email, we did have a “genuine” meet and confer; again,
      the parties simply disagree on what showing is needed, so we can let the Court decide.

       Once more, we believe there are many discovery deficiencies in the current record that
       must be addressed, including:

                  a. Meta’s apparent failure to produce for all Llama models: (a) source code
                      and, potentially, training data beyond that used for “pre-training” and
                      data processing, including data used during the validation, testing, fine-
                      tuning, and alignment phases; (b) documents pirated from the totality of
                      shadow libraries Meta used; or (c) “post-processing” scripts, source
                      code, or training techniques that Meta has developed to prevent the
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                  models from outputting infringing material.
               b. Meta’s refusal to add Nikolay Bashylov as a document custodian even
                  though he was responsible for downloading and analyzing the massive
                  LibGen datasets that Meta copied and used.
               c. Meta’s lack of any custodians from Meta’s Business Development group,
                  including key players like Alex Boesenberg, who was charged with
                  negotiating licensing deals for AI training data
               d. Meta’s privilege redactions in key documents reflecting internal
                  discussions about Meta’s use of pirated works even though they are
                  business communications (and no lawyers appear on them).
               e. The lack of discovery provided on (i) Meta’s actual and projected financial
                  statements reflecting revenue and profits associated with the Llama
                  models; (ii) Meta’s AI partnerships and collaborations, as well as Meta’s
                  use of its LLMs in Meta’s products; (iii) Meta’s decision to use pirated
                  material from shadow libraries and torrent systems, including internal
                  discussions about the implications of using such sources copyright-
                  mitigation techniques, and decisions not to launch in certain
                  jurisdictions; (iv) and technical data for Llama 3 and Llama 3.2.

3. While Meta keeps quoting one line from the hearing, it continues to ignore the other
   important directives from the Court. First, the Court repeatedly said it wanted a “proper
   record” so it could decide the important issues raised by this case. We believe the
   Court will be receptive to our proposal, which is more than reasonable and will help
   ensure we obtain the record the Court is seeking. Second, Meta ignores the key
   assumption underlying the Court’s directive about identifying “what is missing.” The
   Court said it assumed the case would focus only on fair use at summary judgment.
   Following that statement at the hearing, Meta began hinting the Court was mistaken in
   that assumption, so the Court directed Meta to “identify the issues that we need to get
   ready to deal with at summary judgment.” Indeed, that was the Court’s final directive.
   In our meet-and-confer, we repeatedly asked Meta to comply with the Court’s directive,
   but Meta refused. Thus, it will be necessary to have an additional discovery period to
   probe those mystery issues and build the “proper record” the Court desires. While Meta
   may believe an “adequate” record on summary judgment is one dictated unilaterally by
   Meta and without complete discovery on all the issues that will be raised on summary
   judgment, including the fair use issue, we simply do not agree, and that is not generally
   how federal litigation works.

    To that end, we intend to propose the following schedule to the Court to govern if Meta
    contents anything other than fair use:
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          Close of Fact Discovery due by 1/24/2025.
          Opening Reports due by 2/14/2025.
          Rebuttal Reports due by 3/7/2025.
          Close of Expert Discovery due by 3/28/2025.
          Opening MSJ/Daubert Briefs due by 4/25/2025.
          Opposition MSJ/Daubert Briefs due by 5/23/2025.
          Reply MSJ/Daubert Briefs due by 6/13/2025.
          Motion For Summary Judgment Hearing set for 6/26/2025 at 10:00 AM (or the
          Court’s convenience).


    Based on Meta’s position on the meet and confer, we understand the parties are at an
    impasse on this proposed case management amendment as well. If that
    understanding is incorrect and Meta will agree to this amended schedule, please let us
    know as soon as possible so that we can obviate the need for motion practice.

4. In response to your email to Reed, Plaintiffs are willing to accommodate reasonable
   requests, but you’re asking to set the hearing for Friday instead of the Thursday civil law
   and motion calendar because Meta won’t agree to continue Mr. Al-Dahle’s deposition
   until after the Court addresses our motion to amend the case management schedule.
   There is good cause to reschedule the deposition. First, as noted, we now know that
   Meta intends the summary judgment proceedings to cover far more than fair use.
   Second, Plaintiffs discovered just yesterday that Meta produced millions of pirated
   works on a hard drive that was mailed to Plaintiffs only two weeks ago, with a production
   letter that misidentified the hard drive as hard drive #4, which Meta already produced.
   Meta also did not point us to that drive when we stated during Thursday’s meet-and-
   confer that we believed Meta had not produced the data it contained, among other
   materials from shadow libraries. Further, we still have not located in any of Meta’s
   productions the data that it apparently copied from those other shadow libraries
   including Z-Lib and IA using search engines like Anna’s Archive. Finally, the Court
   specifically requested that Plaintiffs retain additional counsel to help build the record in
   this case.

    Accordingly, we reiterate our request that Meta agree to continue Mr. Al-Dahle’s
    deposition until after the Court decides our scheduling motion this coming week. If
    Meta agrees, then we agree to your request to ask the Court to schedule the hearing on
    the motion for the Court’s case management calendar on Friday, with your opposition
    filed by noon pacific on Thursday. Absent such agreement, Plaintiffs will proceed with
    the deposition and reserve our right to depose Mr. Al-Dahle again if (1) there are any
    issues other than fair use in play on summary judgment, and/or (2) if Meta has not
    produced all discovery relevant to Mr. Al-Dahle. We will also ask the Court to schedule
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         the hearing for its regular Zoom civil law and motion calendar on Thursday. Plaintiffs’
         counsel will do what is necessary to cover both the deposition and the hearing on
         Thursday, and we believe Meta’s large team of lawyers also has the resources and
         ability to cover both.

   5. Finally, just so the record is clear, please see the attached email chain, in which I
        provided you with our proposed schedule in writing (after relaying it to you orally) and
        made the initial request for a meet-and-confer.

Best,
Max



From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Saturday, September 28, 2024 4:45 PM
To: Maxwell Pritt <mpritt@BSFLLP.com>; Poppell, Cole A <CPoppell@cooley.com>; Holden Benon
<hbenon@saverilawfirm.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joe Saveri
<jsaveri@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Rya Fishman <rfishman@saverilawfirm.com>; Matthew
Butterick <mb@buttericklaw.com>; Nada Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick
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<MRathur@caffertyclobes.com>; Amy Keller <akeller@dicellolevitt.com>; David Straite
<dstraite@dicellolevitt.com>; Ruby Ponce <rponce@saverilawfirm.com>; Alexander Sweatman
<ASweatman@caffertyclobes.com>; Heaven Haile <hhaile@saverilawfirm.com>; Llama BSF
<Llama_BSF@bsfllp.com>; Josh Schiller <JiSchiller@BSFLLP.com>; David Boies
<DBoies@BSFLLP.com>; Jesse Panuccio <jpanuccio@BSFLLP.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Biksa, Liene
<lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com;
Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-
Kadrey <zmetakadrey@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>
Subject: RE: Kadrey et al. v. Meta: Plaintiffs’ Request to Modify Court-Ordered Case Schedule


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the sender.




Max,

I’m disappointed with your message, which fails to address the issues at hand—Plaintiffs’
claimed need for additional discovery and the proposed scope of that discovery—and instead
makes unfounded accusations against Meta and me personally. Unfortunately, this is a
pattern in this case that we were hoping would stop. My letter does not “significantly
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mischaracterize” anything, and, unfortunately, your responsive email does. Your allegations
of bad faith and unreasonableness are also unfounded.

To begin, it was Meta that suggested a meet and confer on Thursday, when Plaintiffs sought to
defer that discussion until Friday. Additionally, and as Bobby told you, I was traveling back to
San Francisco from Pittsburgh on Thursday, having just completed a deposition in this case.
We also needed to better understand and get our client’s input on your scheduling proposal
before responding to you. Thus, Meta responded promptly to request detail on your proposal
and ensure that the parties had a meet and confer as soon as possible. There is also nothing
nefarious about us screenshotting your proposal that you did not provide us before the meet
and confer as we requested, but that you instead unveiled on the meet and confer through a
screenshare. We needed to know what your specific proposal was, and provide that to our
client, so that we could respond to it.

On substance, Plaintiffs’ desire to effectively restart fact discovery at its close is unreasonable
and inconsistent with the Court’s directive. The Court ordered Plaintiffs to “articulate clearly
what is missing that is critical for the resolution of the fair use issue” in any request to further
revise the case schedule. Dkt. 163 (minute entry). We asked for a meet and confer so that we
could understand what Plaintiffs contend is “missing,” which would allow us to assess your
proposed schedule in light of the Court’s order. But, as your email below confirms, instead of
providing that information or specifying the additional discovery Plaintiffs seek, you sought to
turn the call into an interrogation of Meta. That was inappropriate. Your letter also
inaccurately describes our conversation around the hearing and improperly insinuates that we
said the Court was “wrong.” In fact, we are merely asking Plaintiffs to comply with the Court’s
instructions for seeking any new discovery. It is Plaintiffs’ burden to prove their case and point
to specific evidence they believe they need to do so, not Meta’s burden to stipulate to it.

Notably, your response also fails to address a number of the other concerns we raised in my
letter. These include the fact that your schedule is unworkable, including insofar as it over-
compresses expert discovery and the summary judgment briefing, and would give the Court
only six days, rather than the fourteen required by the Rules, to consider what we anticipate
will be a voluminous set of submissions.

Meta remains willing and available to discuss a need-based extension of the case schedule
and discrete additional discovery, as the Court contemplated. From our perspective, and as
we have explained, the Court will have a more than adequate summary judgment record to
adjudicate fair use based on the discovery conducted to date and to be completed in the next
two weeks. Nevertheless, if Plaintiffs can articulate specific additional items of discovery they
need to address fair use, we will certainly consider them and be prepared to discuss an
appropriate adjustment to the case schedule to get that additional work completed before
summary judgment.

As Plaintiffs have yet to identify any needs-based additional discovery, the parties have not yet
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had an opportunity to meet and confer on what additional discovery is warranted or what
corresponding schedule adjustments may be necessary and appropriate. Meta reserves all
rights with respect to any motion that Plaintiffs may file without a genuine meet and confer on
these fundamental issues.

Thanks,
Kathleen

Kathleen R. Hartnett
Cooley LLP
3 Embarcadero Center, 20th Floor
San Francisco, CA 94111-4004
+1 415 693 2071 office
+1 415 693 2222 fax
+1 202 368 5916 mobile
khartnett@cooley.com
www.cooley.com/people/kathleen-hartnett
Pronouns: she, her, hers




From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Friday, September 27, 2024 12:40 PM
To: Poppell, Cole A <CPoppell@cooley.com>; Holden Benon <hbenon@saverilawfirm.com>;
Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>; Cadio
Zirpoli <czirpoli@saverilawfirm.com>; Joe Saveri <jsaveri@saverilawfirm.com>; Margaux
Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh Jensen <ajensen@saverilawfirm.com>;
Rya Fishman <rfishman@saverilawfirm.com>; Matthew Butterick <mb@buttericklaw.com>; Nada
Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick <Julwick@dicellolevitt.com>; Bryan L.
Clobes <BClobes@caffertyclobes.com>; Mohammed Rathur <MRathur@caffertyclobes.com>; Amy
Keller <akeller@dicellolevitt.com>; David Straite <dstraite@dicellolevitt.com>; Ruby Ponce
<rponce@saverilawfirm.com>; Alexander Sweatman <ASweatman@caffertyclobes.com>; Heaven
Haile <hhaile@saverilawfirm.com>; Llama BSF <Llama_BSF@bsfllp.com>; Josh Schiller
<JiSchiller@BSFLLP.com>; David Boies <DBoies@BSFLLP.com>; Jesse Panuccio
<jpanuccio@BSFLLP.com>; Hartnett, Kathleen <khartnett@cooley.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Biksa, Liene
<lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com;
Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-
Kadrey <zmetakadrey@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>
Subject: RE: Kadrey et al. v. Meta: Plaintiffs’ Request to Modify Court-Ordered Case Schedule


[External]

Thank you, Cole and Kathleen.

Kathleen, your letter significantly mischaracterizes yesterday’s meet and confer, such as the
incorrect assertions that Plaintiffs “should be permitted to have the requested extension due
to [BSF’s] recent addition to the case as counsel and [BSF’s] need to ‘get up to speed’” (that is
      Case 3:23-cv-03417-VC Document 193-4 Filed 10/01/24 Page 19 of 21


Mr. Ghajar’s quotation, not ours); that we “took the position that . . . the Court would likely not
require such a showing [a showing of need as to the fair use issue] given the recent addition of
new counsel”; or that we “would not agree to any limitations on discovery in advance.”

As you know, I provided you with a proposed amended case management schedule during a
call at 1:20 p.m. on Wednesday, September 25, 2024, a little over 24 hours after BSF filed
notices of appearance in this matter. That schedule proposed an extremely accelerated
completion of discovery to maintain the Court’s stated preference to hear summary judgment
in March 2025. Shortly thereafter, I emailed you that proposed schedule and asked to discuss
the proposed deadlines that same day or, if not, the next morning. Hearing nothing, I followed
up that evening. I did not receive a response until the next morning, and we scheduled an
initial meet and confer that same day. On that meet and confer, I shared my screen, which
you screenshotted without informing me and instead of just asking for a copy, to display the
proposed case management schedule I previously provided, and also interim deadlines, both
of which impose significant limitations on Plaintiffs’ ability to complete discovery. You and Mr.
Ghajar were unwilling to discuss extensions of any of the case management deadlines unless
we identified in advance particularized, substantive limitations on Plaintiffs’ ability to engage
in and to complete merits discovery. We explained that we were not in a position to do so but
nonetheless listed several outstanding categories of discovery that we believe are important
to the Court’s resolution of the fair use issue, and you do not identify in your letter where any of
that discovery has been provided. We also explained that we likely would be able to identify
more discovery areas necessary for the Court’s proper resolution of the fair use issue once we
investigate further, having joined the case just days ago (at the Court’s request to add new
counsel for Plaintiffs). Thus, we made the entirely reasonable proposal to supplement
discovery requests by the end of the first week of October.

Because Judge Chhabria directed Meta to “identify the issues that we need to be getting ready
to deal with at summary judgment,” we also asked you to clearly state your position on liability
issues and other affirmative defenses. Mr. Ghajar confirmed that Judge Chhabria’s stated
understanding that the parties “agreed about the use of the copyrighted works” was wrong
and that Meta would dispute all of the issues the Court believed would be undisputed on
summary judgment: (1) that the copyrighted works “were availability on a database [Llama]”;
(2) “that the database was not authorized to make them available”; (3) “[t]hat Meta acquired
them from that database”; (4) that “Meta fed the stuff from the database into the large
language model”; and (5) that “of course the large language model is for commercial use.”
9/20 Hr’g Tr. at 6:9-16. Mr. Ghajar also refused to identify Meta’s position on any other
affirmative defenses, stating only as to standing there were ownership “issues.” That evasive
response also shows why we need to ensure all necessary discovery is taken, given the
Court’s concern about having a “proper record.”

It is clear that Meta is not seeking a good-faith, reasonable solution so that the parties can
proceed to develop the proper record that is needed for Judge Chhabria to decide summary
judgment on the disputed issues. We will file our motion and can discuss with the Court.
        Case 3:23-cv-03417-VC Document 193-4 Filed 10/01/24 Page 20 of 21




Thank you.

Best,
Max



From: Poppell, Cole A <CPoppell@cooley.com>
Sent: Friday, September 27, 2024 11:28 AM
To: Holden Benon <hbenon@saverilawfirm.com>; Christopher Young <cyoung@saverilawfirm.com>;
Aaron Cera <aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joe Saveri
<jsaveri@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
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<Julwick@dicellolevitt.com>; Bryan L. Clobes <BClobes@caffertyclobes.com>; Mohammed Rathur
<MRathur@caffertyclobes.com>; Amy Keller <akeller@dicellolevitt.com>; David Straite
<dstraite@dicellolevitt.com>; Ruby Ponce <rponce@saverilawfirm.com>; Alexander Sweatman
<ASweatman@caffertyclobes.com>; Heaven Haile <hhaile@saverilawfirm.com>; Llama BSF
<Llama_BSF@bsfllp.com>; Josh Schiller <JiSchiller@BSFLLP.com>; David Boies
<DBoies@BSFLLP.com>; Jesse Panuccio <jpanuccio@BSFLLP.com>; Maxwell Pritt
<mpritt@BSFLLP.com>; Kathleen Hartnett <khartnett@cooley.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Biksa, Liene
<lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com;
Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-
Kadrey <zmetakadrey@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>
Subject: Kadrey et al. v. Meta: Plaintiffs’ Request to Modify Court-Ordered Case Schedule


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Counsel:

On behalf of Kathleen Hartnett, please find attached Meta’s letter regarding Plaintiffs’
Request to Modify Court-Ordered Case Schedule.

Sincerely,
Cole Poppell

Cole A. Poppell
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
(enter from 12th and E Streets)
Washington, DC 20004-2400
         Case 3:23-cv-03417-VC Document 193-4 Filed 10/01/24 Page 21 of 21


+1 202 776 2317 mobile
+1 202 842 7899 fax
cpoppell@cooley.com
Pronouns: he, him, his

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